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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                           GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                             CR-16-17-GF-BMM

          Plaintiff,

   vs.
                                                ORDER ADOPTING FINDINGS AND
SEIVERT DAYDRILL                                    RECOMMENDATIONS
RUNNINGCRANE,

          Defendant.



         United States Magistrate Judge John Johnston conducted a revocation

hearing in this matter on January 10, 2019. (Doc. 151.) The United States accused

Defendant Seivert Daydrill RunningCrane of violating his conditions of supervised

release by: 1) failing to report for substance abuse testing; 2) failing to report to his

probation officer as directed; 3) failing to notify his probation officer of a change

in residence; 4) committing another crime; 5) using a controlled substance; and 6)

consuming alcohol. (Doc. 152 at 2.) RunningCrane admitted to all violations of his

supervised release. (Doc. 152 at 3.)

         Judge Johnston entered Findings and Recommendations on January 11,

2019. (Doc. 152.) Judge Johnston recommended that the Court revoke

RunningCrane’s supervised release. (Doc. 152 at 3.) Judge Johnston recommended
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that the Court commit RunningCrane to the custody of the Bureau of Prisons for

seven months, with twenty-nine months of supervised release to follow. (Doc. 125

at 3.) Judge Johnston further recommended that RunningCrane spend the first two

months of his supervised release at Connections Corrections in Butte, Montana.

(Doc. 152 at 4.) Judge Johnston recommended that the supervised release

conditions previously imposed be continued. (Doc. 152 at 4.)

      Neither party filed objections. The Court will review Judge Johnston’s

Findings and Recommendations for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981). The Court

finds no clear error in Judge Johnston’s Findings and Recommendations.

RunningCrane’s violations represent a serious breach of the Court’s trust. A

custodial sentence of seven months followed by twenty-nine months of supervised

release with the first two months of RunningCrane’s supervised release spent in

Connections Corrections in Butte, Montana, is a sufficient, but not greater than

necessary sentence.

      IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 152) is ADOPTED IN FULL.

      IT IS FURTHER ORDERED that Defendant Seiver Daydrill

RunningCrane is sentenced to seven months in custody followed by twenty-nine




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months supervised release with the first two months of release spent at

Connections Corrections in Butte, Montana.

      DATED this 31st day of January, 2019.




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